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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DONNELL FREEMAN,
Plaintiff, Civil Action No.: 3:18-cv-7802
VS.

KABEERUDDIN HASHMI, M.D., KEVIN
MCDONNELL, M.D., DR. JOHN DOE, M.D.,
MONMOUTH COUNTY CORRECTIONAL
INSTITUTION, DONALD SUTTON, JOHN
DOES A-E, CORRECT CARE SOLUTIONS,
LLC d/b/a WELLPATH, SCOTT MILLER,
M.D., ST. FRANCIS MEDICAL CENTER,
ZIMMER BIOMET HOLDINGS, COUNTY
OF MONMOUTH, DEPARTMENT OF
CORRECTIONS, STATE OF NEW JERSEY,
STATE OF NEW JERSEY,

ANSWER TO AMENDED COMPLAINT

Defendants.

Ne Ne ee Ne Ne ee ee ne” ae eee Se See See Se” See” Nace” See” Seer” Senet” Serre”

The defendants, Monmouth County Correctional Institution and Donald Sutton, by way of
answer to the plaintiff's Amended Complaint, say:
JURISDICTION AND VENUE

1. The defendants have no knowledge as to paragraph 1 of Jurisdiction and Venue and leave
plaintiff to its proofs.

2. The defendants have no knowledge as to paragraph 2 of Jurisdiction and Venue and leaves
plaintiff to its proofs.

3. The defendants have no knowledge as to paragraph 3 of Jurisdiction and Venue and leaves

plaintiff to its proofs.
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THE PARTIES

Paragraph 4 of The Parties does not pertain to these defendants; and, accordingly,
answer is provided.

The defendants admit the allegations contained in paragraph 2 of The Parties.

The defendants admit the allegations contained in paragraph 3 of The Parties.
Paragraph 7 of The Parties does not pertain to these defendants; and, accordingly,
answer is provided.

Paragraph 8 of The Parties does not pertain to these defendants; and, accordingly,
answer is provided.

Paragraph 9 of The Parties does not pertain to these defendants; and, accordingly,
answer is provided.

Paragraph 10 of The Parties does not pertain to these defendants; and, accordingly,
answer is provided.

Paragraph 11 of The Parties does not pertain to these defendants; and, accordingly,
answer is provided.

Paragraph 12 of The Parties does not pertain to these defendants; and, accordingly,
answer is provided.

Paragraph 13 of The Parties does not pertain to these defendants; and, accordingly,
answer is provided.

Paragraph 14 of The Parties does not pertain to these defendants; and, accordingly,

“

answer is provided.
Paragraph 15 of The Parties does not pertain to these defendants; and, accordingly,

answer is provided.

no

no

no

no

no

no

no

no

no

no
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Paragraph 16 of The Parties does not pertain to these defendants; and, accordingly, no
answer is provided.

Paragraph 17 of The Parties does not pertain to these defendants; and, accordingly, no
answer is provided.

FACTUAL BACKGROUND

The defendants have no knowledge as to paragraph 18 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 19 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 20 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 21 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 22 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 23 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 24 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 25 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 26 of Factual Background and leave

plaintiff to its proofs.
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The defendants have no knowledge as to paragraph 27 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 28 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 29 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 30 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 31 of Factual Background and leave
plaintiff to its proofs.

The defendants have no knowledge as to paragraph 32 of Factual Background and leave
plaintiff to its proofs.

The defendants deny the allegations contained in paragraph 33 of Factual Background.
The defendants deny the allegations contained in paragraph 34 of Factual Background.
The defendants deny the allegations contained in paragraph 35 of Factual Background.
The defendants deny the allegations contained in paragraph 36 of Factual Background.
The defendants deny the allegations contained in paragraph 37 of Factual Background.
The defendants deny the allegations contained in paragraph 38 of Factual Background.
The defendants deny the allegations contained in paragraph 39 of Factual Background.
The defendants deny the allegations contained in paragraph 40 of Factual Background.
The defendants deny the allegations contained in paragraph 41 of Factual Background.
The defendants deny the allegations contained in paragraph 42 of Factual Background.

The defendants deny the allegations contained in paragraph 43 of Factual Background.
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44. The defendants deny the allegations contained in paragraph 44 of Factual Background.

45, The defendants deny the allegations contained in paragraph 45 of Factual Background.

46. The defendants deny the allegations contained in paragraph 46 of Factual Background.

47. The defendants deny the allegations contained in paragraph 47 of Factual Background.

48. The defendants deny the allegations contained in paragraph 48 of Factual Background.

49. The defendants deny the allegations contained in paragraph 49 of Factual Background.

50. The defendants deny the allegations contained in paragraph 50 of Factual Background.

51. The defendants admit the allegations contained in paragraph 51 of Factual Background.

52. The defendants have no knowledge as to paragraph 52 of Factual Background and leave
plaintiff to its proofs.

53. The defendants have no knowledge as to paragraph 53 of Factual Background and leave
plaintiff to its proofs.

54. The defendants have no knowledge as to paragraph 54 of Factual Background and leave
plaintiff to its proofs.

55. The defendants have no knowledge as to paragraph 55 of Factual Background and leave
plaintiff to its proofs.

56. The defendants have no knowledge as to paragraph 56 of Factual Background and leave
plaintiff to its proofs.

57. The defendants have no knowledge as to paragraph 57 of Factual Background and leave
plaintiff to its proofs.

58. The defendants have no knowledge as to paragraph 58 of Factual Background and leave

plaintiff to its proofs.
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The defendants have no knowledge as to paragraph 59 of Factual Background and leave
plaintiff to its proofs.
The defendants have no knowledge as to paragraph 60 of Factual Background and leave
plaintiff to its proofs.
The defendants have no knowledge as to paragraph 61 of Factual Background and leave
plaintiff to its proofs.
The defendants have no knowledge as to paragraph 62 of Factual Background and leave
plaintiff to its proofs.
The defendants have no knowledge as to paragraph 63 of Factual Background and leave
plaintiff to its proofs.

COUNT 1
The defendants have no knowledge as to paragraph 64 of Count | of the Complaint and
leave plaintiff to its proofs.
The defendants have no knowledge as to paragraph 65 of Count 1 of the Complaint and
leave plaintiff to its proofs.
The defendants have no knowledge as to paragraph 66 of Count 1 of the Complaint and
leave plaintiff to its proofs.
Paragraph 67 of Count 1 of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.
Paragraph 68 of Count 1 of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.
Paragraph 69 of Count 1 of the Complaint does not pertain to these defendants; and,

accordingly, no answer is provided.
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70. Paragraph 70 of Count 1 of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

71. The defendants deny the allegations contained in paragraph 71 of Count 1 of the Complaint.

72. The defendants deny the allegations contained in paragraph 72 of Count 1 of the Complaint.

73. Paragraph 73 of Count 1 of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

COUNT II

74 Paragraph 74 of Count II of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

75 Paragraph 75 of Count II of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

76 Paragraph 76 of Count II of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

77. Paragraph 77 of Count II of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

78. Paragraph 78 of Count II of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

COUNT II

79. Paragraph 79 of Count III of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

80. Paragraph 80 of Count III of the Complaint does not pertain to these defendants; and,

accordingly, no answer is provided.
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81. Paragraph 81 of Count III of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

82. Paragraph 82 of Count III of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

83. Paragraph 83 of Count III of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

COUNT IV

84. The defendants deny the allegations contained in paragraph 84 of Count IV of the
Complaint.

85. The defendants deny the allegations contained in paragraph 85 of Count IV of the
Complaint.

86. The defendants deny the allegations contained in paragraph 86 of Count IV of the
Complaint.

87. Paragraph 87 of Count IV of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

88. Paragraph 88 of Count IV of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

89. Paragraph 89 of Count IV of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

90. Paragraph 90 of Count IV of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

91. The defendants deny the allegations contained in paragraph 91 of Count IV of the

Complaint.
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92. The defendants deny the allegations contained in paragraph 92 of Count IV of the

Complaint.
COUNT V

93. The defendants deny the allegations contained in paragraph 93 of Count V of the
Complaint.

94. The defendants deny the allegations contained in paragraph 94 of Count V of the
Complaint.

95. The defendants deny the allegations contained in paragraph 95 of Count V of the
Complaint.

96. Paragraph 96 of Count V of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

97. Paragraph 97 of Count V of the Complaint does not pertain to these defendants; and,
accordingly, no answer is provided.

98. The defendants deny the allegations contained in paragraph 98 of Count V of the
Complaint.

99. The defendants deny the allegations contained in paragraph 99 of Count V of the
Complaint.

100.The defendants deny the allegations contained in paragraph 100 of Count V of the
Complaint.

SEPARATE DEFENSES

1. The defendants breached no duty owed to the plaintiff.

2. The plaintiffs injuries or damages are due to the plaintiff's comparative fault.
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3. The plaintiff's claim must be dismissed for failing to exhaust his administrative
remedies,

4, The plaintiff's claim is barred by the provisions of the Eleventh Amendment.

5. The plaintiff's claims must be dismissed as the defendants are entitled to qualified
immunity.

6. The plaintiff's complaint must be dismissed for failing to provide facts supporting
deliberate indifference concerning the plaintiffs care.

7. The plaintiffs claims are barred pursuant to the New Jersey Tort Claims Act N.J.S.A.
59:1-1 et. seq.

8. The actions of the defendants were reasonable under the circumstances.

9. The defendants had a reasonable good faith belief that their actions were lawful.

10. The plaintiff was acting in an abusive, reckless and offensive manner.

11. Plaintiff failed to file a Notice of Tort Claim and, thus, his claims are barred.

12. Plaintiff's complaint fails to state a cause of action against the defendants.

13. The damages claimed by the plaintiff were the result of unrelated, pre-existing or
subsequent conditions unrelated to defendants’ conduct.

CROSSCLAIM FOR CONTRIBUTION

The defendants, Monmouth County Correctional Institution and Donald Sutton, demands
contribution from the co-defendants, Kabeeruddin Hashmi, M.D., Kevin McDonnell, M.D., Dr.
John Doe, M.D., Correct Care Solutions, LLC d/b/a Wellpath, Scott Miller, M.D., St. Francis
Medical Center, Zimmer Biomet Holdings, County of Monmouth Department of Corrections State

of New Jersey, and State of New Jersey, under the terms and provisions of the New Jersey
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Tortfeasors Contribution Act, N.J.S.A. A-1, et seq., and under the terms and provisions of the
Comparative Negligence Action, N.J.S.A. A-5.1 et seq.
CROSSCLAIM FOR _ INDEMNIFICATION

The defendants, Monmouth County Correctional Institution and Donald Sutton, by way of
Crossclaim for indemnification against the co-defendants, Kabeeruddin Hashmi, M.D., Kevin
McDonnell, M.D., Dr. John Doe, M.D., Correct Care Solutions, LLC d/b/a Wellpath, Scott Miller,
M.D., St. Francis Medical Center, Zimmer Biomet Holdings, County of Monmouth Department
of Corrections State of New Jersey, and State of New Jersey, says:

First Count

The defendants, while denying negligence, assert that the negligence, if any, was of the co-
defendants, and that the liability of the defendants, if any was of a derivative or secondary nature,
and that the liability of the co-defendants was of a primary character, thus giving rise to a duty on
the part of the co-defendants to hold these defendants harmless and indemnifying these defendants
from any loss herein.

WHEREFORE these defendants hereby demand judgment against the co-defendants for
any and all sums that may be adjudged against these defendants in favor of the plaintiff in this
cause, together with interest, costs and counsel fees.

DEMAND FOR TRIAL BY JURY
This defendant hereby demands a trial by jury as to all issues so triable.

REARDON ANDERSON, LLC
Attorney for Defendants,
Monmouth County Correctional Institution and
Donald Sutton

   
 

Dated: August 8, 2019 . REARDON, UI
